     Case 8:05-cr-00420-JSM-TBM Document 534 Filed 06/02/08 Page 1 of 12 PageID 1916
A 0 2458 (Rev 06/05) Sheet 1 - Judgment in a Criminal Case
>



                            UNITED STATES DISTRICT COURT
                                                   MTDDLE DISTRICT OF FLORlDA
                                                        TAMPA DlVISION



UNTTE D STATES OF AMERICA                                     JUDGMENT lN A CEUMINAL CASE
                                                              CASE NUMBER: 8:05-cr-420-T-30TBM
                                                              USM NUMBER: 57400-004


GUILLERMO DE 1.4 ROSA
                                                              Defkndant's Attorney: Oscar Arroyavc, ret.

THE DEFENDANT.
    pleaded guilty to c m t t s ) ONE of the Indictment.
-pleaded nolo contendereto count{s] which was accepted by the court.
-was found guilty on colmt(s) after a piea of not guilty.
TITLE & SECTION                     NATURE OF OFFENSE                           OFFENSE ENDED                     COUNT

2 1 U.S.C. $ 6846.841 (a)(l ) and   Conspiracy to Possess With b e a t to     1980s                                 One
8411bKl)(A)(ii)                     Distribute 5 Kilograms or More of Cocaine




       The defendant issencenced as providedin pages 2 through6 ofthisjudgment. The scntence is imposed puntant to thesentencing
Reform Act of 1984,

- The defendant has k e n found not guilty on count(s)
-
X Count(s) TWO and THREE of the Indictment are dismissed on the motion of the Un ~ t t dSlates.
IT IS FURTHE:R ORDERED that the defendant must notify the United States Attorney for th15dislrict withm 30 days of any change of
name, residence, or maifing address until all fines. restitution, costs, and special assessments imposed by this judgment are llly paid
If ordered to pay restitution, the defendant must notify the comt and United States Attorney of my material change in econormc
circumstances.


                                                                                 Date of Imposition of Sentence: May 29.2008
     Case 8:05-cr-00420-JSM-TBM Document 534 Filed 06/02/08 Page 2 of 12 PageID 1917
A 0 2458 (Rev 06/05) Sheet 2 - Imprisonment (judgment in a Criminal Case)
Defendant:          GUILLERMO DE LA ROSA                                                             Judgment - Page 2 of 6
Case No.:           8:05-~r420-T-30TBM



          After considering the advisory sentencing guidelines and all of thc factors identified in Titlc I 8 U.S.C. @
3553(a)(I)-(7), the court finds that the scnlcnce imposed i s sufficient, but not greater than necessary, to comply with
t h e statutory purposes o f sentencing.


          The defendant is hereby committed to the custody of the Unitedstates Bureau of Prisons to be imprisoned f o r
a total term of SEVENTY-EIGET (78) MONTHS as to Count One of the Indictment.




-X The court makes the following recommendations to the Bureau of Prisons: The defendanr shall be placed at FCI Miami (FL),
if possi ble.


 S   The defendant is rananded to the custody of the United Slates Marshal.
- The defendant shall surrender to the United States Mmbal for this district.
          -at -am/p.m. on -.
          -as notified by the Unitbd Stam Marshal.
- The defendant shaH surrender for sewice of sentence at the institution designated by the Bureau o l Prl son s.
          -before 2 p.m. on -.
          -as notified by the United States Marshal.
          -as notified by the Pmbation or Pretrial Services Office.

                                                                      RETLRN

          I have executed this judgment as foIlows:




          Defendant delivered on                                            to
-    at                                                               ,with a certified copy of this judgment.


                                                                                 United States Marshal

                                                                       By
                                                                                           Deputy Unired Srates Marshal
     Case 8:05-cr-00420-JSM-TBM Document 534 Filed 06/02/08 Page 3 of 12 PageID 1918
A 0 2433 (Rev. 06/05) Shcet 3 - Supvised Release (Judgment in a Criminal Case)

Defendant:          GUILLERMO DE LA ROSA                                                                            Judgment - Page 3of
Case N 0.:          8:05-cr-420-T-30TBM
                                                           SUPERVISED RELEASE
        Upon release from imprisonment, the defendant shall beon supervised releasc for a term of FIVE ( 5 ) YEARS as to Count
One of the Indictment.
         The defendant must report to the probation ofiice in the district to which the defendant is released within 72 hours of release fiom
the custody of the Bureau of Prisons.

The defendant sball not commit another federal, state, or local crime. The defendant shall not unlawllly possess a controlled substance
The defendant shall refirain fiom any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release h m impriso~lentand at least two periodic drug tesb thereafter. as determined by the court.

-
X        The defendant shall not possess a firearm. destructive device, or my other dangerous weapon

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

          If this judgment imposes a fine or restitation it is a condition ofsupervised rzleasc (hat he defmdan~pay ~naccordance wih Ole
          Schedule of Payments sheet of this judgment.

          The defendant must camply with the standard corldrt~omthat have been adopted by t h s court as well as wth any addtlonal
          conditions on the attached page.
                                             STANDARD CONDITIONS OF SUPERVlSION
           thc defendanr illall nor leave [he judicial d ~ s t n c rwithout the pamission of the coud or probarion officer:

          the defendant shall report to the probation officer and shall submit a truthful and cornpletc written report within the first five days of each
          month;

          the defendant shall answer truthfully all inquiries by ~ h probation
                                                                     c         officer and follow the instructions ofthe probation officer,

          the defendant shall support his or her dependents and meet other family responsibilities;

          the defendant shall work regularly at a lawful occupation. unless excused by the pmbation officer for schooling, eaining, or other
          acceptable m n s ;

           the defendant shell notify tbc probarion afiicer at least tm days prior to any change in residence or employment;

          the defmdant shall r e w from excessive use of alcohol md shall not purchase. possess. use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances,except as prescribed by a physician;

          the defendant shall not fiquent placcrs where conrmlled substancesare illegally sold. used, distributed, or administerad;

           the defendant shdl not associate with any pasons cngaged in criminal activity and shall not associate with any person convicted of a
           felony,unloss granted permission to do so by the probation officer.

           the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shdl permit confiscation of m y
           c    o    ~ o b~ s ddin pIain view uf the p m M o n offim.

           the defendant shdl notify the pmbation officer within seventy-two hours of being arrested or q u a t i o n 4 by a law enforcement officer;

           the ddendant shnll not enter into m y agreement to act as an infarmer or a special agent of a law enforcement agency without the
           permission of the court: and

           as diread by the probation officer. thcdefendant shall notify third paFlies of risks that may be accasioned by thedefendant's airninal record
           or pasonal history or characteristics and shall pcnnit the pmbation officer to make such notifications and to wnfnn the defendant's
           compliance with such notitidon requirement
A 0Case   8:05-cr-00420-JSM-TBM
   2433 (Rev.                                  Document
              06/05) Sheet 3C - Supervised Release (Judgment in534     Filed
                                                                n Criminal    06/02/08
                                                                           Casc)           Page 4 of 12 PageID 1919

Defendant:       GUILLERMO DE LA ROSA                                                               Judgment - Page 4 of 6
Case No,:        8:05-cr-420-T-30TBM
                                      SPECIAL CONDlTLONS OF SUPERVISlON

        The defendant shall also comply with the following additional conditions of supenised rcleasc.
        The defendant W participate in a substance abuse program (outpatient and/or inpatient) and follow te probation officer's
        instructians regarding the implementatio~of this court directive. Furher, the defendant shall be required to conbibute to the
        costs of sentices for such treatment not to exceed an amount determined reasonableby the Probation Officer's Sliding Scale for
        Substance Abuse Treatment Services. During and upon cornpietion of this program, the defendant is directed to submit to
        random drug testing.

-
X       The defendant shall cooperate in the collection of DNA as directed by the probation officer.

-
X       The mandatory drug testing provisions shall apply pursuant to the Violern Crime Canrrol Acl. The Coun authorires random
        drug testing not to exceed 104 tests per year.
     Case 8:05-cr-00420-JSM-TBM Document 534 Filed 06/02/08 Page 5 of 12 PageID 1920
A 0 2458 (Rev 06/05)Shm 5     - Criminal Monelary Penalties (Judgment in a Criminal Case)
Defendant:          GUILLERMO DE LA ROSA                                                                Jud,gncn~   - Page 5 o r 6
Case No.:           8;QS-cr-42O-T-30TBM

                                            CRI kTINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                             Assessmcn t                          Fine                         Total Restitution

          Totals:


          The determination ofrestitution is deferred un ti1 -.             An Amended Judgment in a Criminal Case ( A 0 245C) will
          be entered after such determination.
          The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partiaI payment, each payee shall receive an approx imate1y proportioned payment, unless
          s cified othenwse in the priority order or percentage pa ent c o l m below I-lowever, pursuant to 18 U.S.C. 8
          $&),      all "on-federal v~ctmsmust be pad before the Xted States.


 N m e of Payee                                 Total Loss*                 Hesci tution Ordercd




                             Totals:

          Restitmion amomt ordered pursuant to plea agreement $
          The defendant must y interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth & after the date of the judgment, punruant to 18 U.S.C. 5 3612(f). All ofthe payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to I8 U.S.C. 4 3612(g).
          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                    the interest requirement is waived for the - fine     - restitution.
                    the interest requirement for the _ fie       -   restitution i s modified as lollows:


* F i o d i for !he total amount of losses are requiredunder Chapters 109& 1 10,11QA, aad 1 13A ofTitle 18 for the offenses committed
on or after S e p ~ e m k13,1994, b u t b e h e A p d 23,1996.
     Case 8:05-cr-00420-JSM-TBM Document 534 Filed 06/02/08 Page 6 of 12 PageID 1921
A 0 245 B (Rev 06/05) Sheet 6 - Schedule uf Payments (Judgment in a Criminal Case)

Defendant:         GUILLERMO DE LA ROSA                                                     Judgment - Page 6of 6
Case No.:          8R5-cr-920-T-30TBM


                                                   SCHEDULE OF P A Y M E N T S



Having asswed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A                  Lump sum payment of $100-00due unmediately, balance due
                             -    not later than             . or
                             -    in accordance - C, - D, - E or - 1: below; or
                   Payment to begin immdately (may be combined with -C, -D.or -F below); or
                  Payment in equal           (e.g., weekly,monthly. quarterly) installmentsof $         over a penod
                   of -(e.g., months or years), to commence           days (e-g.,30 or 60 d a y s ) j h e date of this
                  j u d p e n l , or

                  Pay   in ??id,
                  mpnsonment
                                                   (eg., weekly, monthly, quarterly) installments of $
                                          months or y*s) to commence
                                    to a term af supervlslon; or
                                                                                         , (e-g. 30 or 6
                                                                                                       a-f
                                                                                                                        over a period of
                                                                                                                           release from

                   Payment during the term of supervised release will commence within                (e.g., 30 or 60 days)
                   after reIease b m impsisoment. The court will set the payment plan based on an assessment of the
                   def&tls        ability to pay at that time, or
                   Special in&ruclions regarding the payment of criminal monetary penal t Ies .




Udms the court has expressly ordered otherwise, if this judgment imposes imprisonment, paymeat of criminal monetary
                              e
 enalties is due h h g un risonment. All criminal rnondary penalties, except those ayments made through the Federal
&ireau of Prisons' Imaate inarlcial Responsibility Program, are made to the clak of e court.     5,
The defendant shall receive credit for all payments previouslymade toward my criminal monetary penalties imposed.
         Joint and S e v d
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount, and correspondingpayee, if appropriate:


         The defendant &a11 pay the cost of prosecution.
-        The defendant shall pay the following c o w cost(s).
-
X        The defendant shall forfeit the defendant's interest m the following property to the Umt& States:
        The Court orda-sthat the defendant forfeit to the United States immediately and voluntarily any and all assets and
property, or portions thereof, subject to forfeiture, which are in the ssession or control of the defendant or the defendant's
nominees, including but not limited to, the real pmpe        vehicles,Eafs or vessels, monies, and jewehy, Listed in the final
judgment of forfeiture. The fmd order of forfeiture         [g.
                                                             5121 is made part of this judgment.

Payments shall be applied in the foUowing order (1) assessment, (2) restitution principal, (3) restitution interest. (4) b e principal, (5)
6ne int-   (6)c o d t y restitution, (7)penalties. and (8) costs. including cost of prosecution and court costs.
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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


    UNITED STATES OF AMERICA, :

           Plaintiff,

                                                      CASE NO. 8:05-cr-420-T-30TBM

    GUILLERMO DE LA ROSA,

           Defendant.



                             FINAL JUDGMENT OF FORFEITURE

          THIS CAUSE comes before the Court upon the filing of the Motion (Doc. 51 1) by the

    United States for a Final Judgment of Forfeiture for the following property:

          A.       Real property, including all improvements thereon and appurtenances

    thereto, located at 740 SE 22nd Avenue, Pompano Beach, Florida 33062, which is legally

    described as follows:

                  Lot 7, Block 2, SANTA BARBARA SHORES, according to the Plat thereof,
                  as recorded in Plat Book 33, page 21 of the Public Records of Broward
                  County, Florida.

                  Parcel ldentification Number: 19306-26-03700
                  Folio Number: 494306260370.

                  The following vehicles:

                        1999 Ford F350 Pickup, VIN: 1FTWW33F6XEC68669
                        Owner of Record: Guillermo A. De La Rosa,

                        2002 Ford F150, VIN: I FTRX17272NA46656
                        Owner of Record: Guillermo A. De La Rosa;



                                            Page 1 of' 6
Case 8:05-cr-00420-JSM-TBM Document 534 Filed 06/02/08 Page 8 of 12 PageID 1923




                  (3)    2002 Ford Econoline €250, VIN: 1FTNS24242HB24624;
                         Owner of Record: Guillermo A. De La Rosa;

                  (4)    1997 Toyota Land Cruiser, VlN: JT3HJ85J-lVOI 81 105
                         Owner of Record: Marlene De La Rosa; and

                  (5)    1999 Mitsubishi Truck, VIN: JWGAAFI H7XL002328;
                         Owner of Record: Parkway to Marble and Granite, Inc

                  The following monies seized from the following bank accounts:

                        Bank of America account number 0036 2489 7263, held in the name
                        of Guillermo and Marlene De La Rosa, in the amount of $1,014.02;

                        Washington Mutual Bank account number 1950828609, in the name
                        of Parkway to Marble and Granite, Inc., in the amount of $1,859.41;
                        and

                        Bank Atlantic account number 54406820 in the name of Guillermo and
                        Marlene De La Rosa, in the amount of $296.83.

                 The assorted jewelry, valued at $80,950, seized from Guillermo de la Rosa,
                 during the execution of a search warrant at his residence located at 740 SE
                 22nd Avenue, Pompano Beach, Florida.

                 On October 16, 2007, the Court granted the United States' motion and

    entered the Preliminary Order of Forfeiture (Doc. 399), forfeiting to the United States of

    America all right, title, and interest of defendant Guillermo De La Rosa.

                 Notice of the Preliminary Order of Forfeiture as to defendant Guillermo De La

    Rosa was sent via certified mail, return receipt requested, to the fotlowing third parties

    known to have alleged an interest in the assets found subject to forfeiture:

                        Marlene De La Rosa, Certified Mail No. 7005 31 10 0003 4592 5144
                        on October 17, 2007, green card signed and returned on October 20,
                        2007. No claim was filed;

                        Marlene De La Rosa, c/o William Jung, Esquire, Certified Mail N o .
                        7005 31 10 0003 4592 5427 on October 24, 2007, green card signed

                                           Page 2 of 6
Case 8:05-cr-00420-JSM-TBM Document 534 Filed 06/02/08 Page 9 of 12 PageID 1924




                          and returned on October 26, 2007. No claim was filed;

                          Ford Motor Credit, Attn: Richard Ramey, Tampa Service Center, P . 0
                          80x 3 1111 , Tampa, Florida 33631, Certified Mail No. 7005 31 10 0003
                          4592 5168 on October 17, 2007, green card signed and returned on
                          October 18, 2007. No claim was filed;

                          Parkway to Marble and Granite, 3056 N.E. 1 2 ' ~Terrace, Oakland
                          Park, Florida 33334, Certified Mail No. 7005 31 10 0003 4592 5120 on
                          October 17, 2007, envelope returned "attempted - not known and
                          unable to forward;"

                          R & H Tile, Inc., 3056 N,E. 12h Terrace, Oakland Park, Florida 33334,
                          Certified Mail No. 7005 31 10 0003 4592 51 1 3 on October 17, 2007,
                          envelope returned "attempted - not known and unable to forward;" and

                          Associates Commercial Corporation, Attn: Customer Service, P.O.
                          Box 168647, Irving, Texas 7501 6, Certified Mail No. 7005 31 10 0003
                          4592 51 06 on October 17, 2007, green card signed and returned on
                          October 31, 2007. No claim was filed.

                  On December 17, 2007, the United States filed a Stipulation and Hold

    Harmless Agreement between the United States of America and Marlene De La Rosa in

    which Marlene De La Rosa agreed that she had no right, title, or interest in the real

    property located at 740 SE 22nd Avenue, Pompano Beach, Florida and agreed not to

    contest the forfeiture. The United States agreed to pay Marlene De La Rosa $1 00,000.00

    from the net sales proceeds. (Doc. 442).

                  In accordance with the provisions of 21 U.S.C. § 853(n), the United States

    published notice of the forfeiture for the currency listed under section "C" of this motion, and

    of its intent to dispose of the properties, in the Tampa Tribune, a newspaper of general

    circulation in Hillsborough County, Florida and in the Broward Daily Business Review, a

    newspaper of general circula'rion in Broward County, Florida on October 30, 2007,



                                              Page 3 of 6
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     November 6, 2007 and November 13, 2007. (Docs. 41 7 and 41 8). The publication gave

     notice to all third parties with a legal interest in the subject property to file with the Office

     of the Clerk, United States District Court, Mlddle District of Florida, Sam Gibbons Federal

     Courthouse, 2"d Floor, 801 North Florida Avenue, Tampa, Florida 33602, a petition to

     adjud~catetheir ~nterestwithin 30 days of the final date of publication.

            5.     In accordance with the provisions of 21 U.S.C.5 853(n), the United States

     aublished notice of the forfeiture for the assets listed under sections "A," "Bnand "D" of this

     moiion, and of its intent to dispose of the properties, in the Tampa Tribune, a newspaper

     of general circulation in Hillsborough County, Florida on November 1, 2007, November 8,

     2007 and November 15,2007 and jn the Broward Daily Business Review, a newspaper of

     general circulation in Broward County, Florida on December 12, 2007, December 19,2007

     and December 26, 2007. (Docs. 432 and 476). The publication gave notice to all third

     parties with a legal interest in the subject property to file with the Office of the Clerk, United

     States District Court, Middle District of Florida, Sam Gibbons Federal Courthouse, 2"dFloor,

     801 North Florida Avenue, Tampa, Florida 33602, a petition to adjudicate their interest

     within 30 days of the final date of publication.

            6.      No persons or entities, other than the defendant Guillermo De La Rosa,

     whose interest was forfeited to the United States in the Preliminary Order of Forfejture, and

     the persons and entities identified in paragraph 3 above, are known to have an interest in

     the subject assets. No third party has filed a Petition of Ownership in the subject properties

     to date, and the time for filing such Petition has expired.




                                                Page 4 of 6
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                     The Court finds that the subject assets are the property of defendant

     Guillermo De La Rosa.

               Accordingly, it is hereby

               ORDERED, ADJUDGED and DECREED that the United States' motion (Doc. 51 1)

     is GRANTED. It is FURTHER ORDERED that all right, title and interest in following

     property is CONDEMNED and FORFEITED to the United States of America, pursuant to

     the provisions of 21 U.S.C. § 853 and Fed. R. Crim. P. 32.2(~)(2),for dispos~tionaccording

     to law:

               A.     Reat property, including all improvements thereon and appurtenances

     thereto, located at 740 SE 22nd Avenue, Pompano Beach, Ftorida 33062, which is legally

     described as follows:

                      Lot 7, Block 2, SANTA BARBARA SHORES, according to the Plat thereof,
                      as recorded in Plat Book 33, page 21 of the Public Records of Broward
                      County, Florida.

                      Parcel ldeniiiicat~onNumber: 19306-26-03700
                      Folio Number: 494306260370.

                      The following vehicles:

                      (1 )   1999 Ford F350 Pickup, VIN: 1F T W 3 3 F6XEC68669
                             Owner of Record Guillermo A. De La Rosa,

                      (2)    2002 Ford Fl50, VlN: 1FTRXI 7272NA46656
                             Owner of Record: Guillermo A. De La Rosa;

                      (3)    2002 Ford Econoline €250,VIN: 1FTNS24242HB24624;
                             Owner of Record: Guillermo A. De La Rosa;

                      (4)    1997 Toyota Land Cruiser, VIN: JT3HJ85JIV0181105
                             Owner of Record: Marlene De La Rosa; and



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                        1999 Mitsubishi Truck, VIN: JWGAAF1 H7XL002328;
                        Owner of Record: Parkway to Marble and Granite, Inc

                 The following monies seized from the following bank accounts:

                        Bank of America account number 0036 2489 7263, held in the name
                        of Guillermo and Marlene De La Rosa, in the amount of $1,014.02;

                        Washington Mutual Bank account number 1950828609, in the name
                        of Parkway to Marble and Granite, Inc., in the amount of $1,859.41;
                        and

                        Bank Atlantic account number 54406820 in the name of Guillerrno and
                        Marlene De La Rosa, in the amount of $296.83.

                  The assorted jewelry, valued at $80,950, seized from Guillermo de la Rosa,
                  during the execution of a search warrant at his residence located at 740 SE
                  22 nd Avenue, Pompano Beach, Florida.

           Clear title to the property is now vested in the United States of America

           DONE and ORDERED in Tampa, Florida on April 8, 2008.




                                                   L3XXD STATES DISTRICT JUDGE
     Codes to:
     Anita M . Cream, AUSA
     AttorneyslParties of Record




                                            Page 6 of 6
